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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION



   UNITED STATES OF AMERICA,
   vs.                                                Case No. 23-80101-CR
   DONALD J. TRUMP, et al.,                           CANNON/REINHART

                  Defendants.



                PRESIDENT TRUMP’S NOTICE OF SCHEDULING CHANGE

          President Donald J. Trump respectfully submits this Notice regarding a change in schedule

  in People v. Trump, Indictment No. 71543-2023 (Supreme Court N.Y. Cnty.), which may impact

  the Court’s consideration of the proposed schedules set forth at ECF Nos. 356 and 357.

          On March 15, 2024, pursuant to the letter attached hereto as Exhibit 1, the judge presiding

  over People v. Trump preliminarily adjourned the start of jury selection from March 25 until April

  15, 2024. The judge scheduled a hearing on March 25, 2024 relating to President Trump’s motion

  to dismiss the Indictment, and for other sanctions based on the prosecution’s ongoing discovery

  violations, after which the judge plans to “set the new trial date, if necessary . . . .” Ex. 1 at 2.

  Further, the judge noted that “[t]his Court’s directive that the parties, including the Defendant, not

  engage or otherwise enter into any commitment pending completion of this trial remains in effect.”

  Id. at 2-3.
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         President Trump will apprise the Court of the outcome of the hearing and any further

  scheduling changes.

   Dated: March 18, 2024                      Respectfully submitted,

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